         Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 1 of 9




                                                      U.S. Department of Justice

                                                      Nathaniel R. Mendell
                                                      Acting United States Attorney
                                                      District of Massachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      May 21, 2021
J. Thomas Kerner, Esq.
240 Commercial Street, Suite 5A
Boston, MA 02109

       Re:     United States v. Hassan Monroe
               Criminal No. 20-10136-RGS-3

Dear Mr. Kerner:

      The Acting United States Attorney for the District of Massachusetts (“the U.S. Attorney”)
and your client, Hassan Monroe (“Defendant”), agree as follows, pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(B):

       1.      Change of Plea

        Defendant will waive Indictment and plead guilty to the Superseding Information charging
him with conspiracy to distribute and possess with intent to distribute 500 grams or more of cocaine
and 28 grams or more of cocaine base, in violation of 21 U.S.C. § 846 (Count One); and being a
felon in possession of a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1) (Count
Two). Defendant admits that he committed the crimes specified in these counts and is in fact guilty
of each one.

       2.      Penalties

        Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Superseding Information: incarceration for at mandatory minimum term of five years, up to
forty years; supervised release for at least four years up to life; a fine of $5,000,000; a mandatory
special assessment of $100; and forfeiture to the extent charged in the Superseding Information.

        Defendant faces the following maximum penalties for Count Two: incarceration for ten
years; supervised release for three years; a fine of $250,000; a mandatory special assessment of
$100; and forfeiture to the extent charged in the Superseding Information.

                                                 1
          Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 2 of 9




         3.       Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 27:

                  a) Defendant’s drug and gun convictions form a single group (USSG § 3D1.2); 1

                  b) Defendant’s base offense level is 28, because Defendant is responsible for over
                     one kilogram of cocaine and 200 grams of cocaine base (USSG § 2D1.1(c)(8));

                  c) Defendant’s offense level is increased by two levels, because Defendant
                     possessed a dangerous weapon (USSG § 2D1.1(b)(1)); and

                  d) Defendant’s offense level is decreased by three levels, because Defendant has
                     accepted responsibility for Defendant’s crimes (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw his guilty plea if
Defendant disagrees with how the Court calculates the Guidelines or with the sentence the Court
imposes.

        Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.
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  Defendant’s adjusted offense level of 30 for his conviction under 21 U.S.C. § 846 is the same as the adjusted
offense level of 30 for his conviction under 18 U.S.C. § 922(g)(1), which is determined as follows:

                  a)   Defendant’s base offense level is 20, because Defendant’s offense involved a semiautomatic
                       firearm that was capable of accepting a large capacity magazine and Defendant was a prohibited
                       person at the time of the offense (USSG § 2K2.1(a)(4)(B);

                  b) Defendant’s offense level is increased by four levels, because Defendant’s offense involved
                     nine firearms (USSG § 2K2.1(b)(1)(B));

                  c)   Defendant’s offense level is increased by two levels, because Defendant’s offense involved a
                       firearm that was stolen (USSG § 2K2.1(b)(4)(A)); and

                  d) Defendant’s offense level is increased by four levels, because Defendant possessed a firearm in
                     connection with another felony offense (i.e., the conspiracy charged in Count One) (USSG
                     § 2K2.1(b)(6)(B)).

                                                          2
         Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 3 of 9




       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration at the low end of the Guidelines sentencing range as calculated by
                  the parties;

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 48 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and

               e) forfeiture as set forth in Paragraph 6.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) He will not challenge his conviction on direct appeal or in any other proceeding,
                  including in a separate civil lawsuit; and

               b) He will not challenge his sentence, including any court orders related to
                  forfeiture, restitution, fines or supervised release, on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit.

        Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
                                                 3
         Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 4 of 9




his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

       6.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:

               a. $34,200 in United States currency, seized on or about June 24, 2020, from
                  Hassan Monroe in Quincy, Massachusetts;

               b. a Phoenix, .22 caliber pistol, bearing serial number 4396345, seized on or about
                  June 24, 2020, in Quincy, Massachusetts;

               c. ten (10) rounds of .22 caliber ammunition, seized on or about June 24, 2020, in
                  Quincy, Massachusetts;

               d. a Taurus, .40 caliber pistol, bearing serial number SMR95649, seized on or
                  about June 24, 2020, in Quincy, Massachusetts;

               e. nine (9) rounds of .40 caliber ammunition, seized on or about June 24, 2020, in
                  Quincy, Massachusetts;

               f. a Smith & Wesson, 9 mm pistol, model M&P, bearing serial number HSJ2353,
                  seized on or about February 28, 2020;

               g. ten (10) rounds WCC brand, 9 mm ammunition and five (5) rounds Speer brand,
                  9 mm ammunition, seized on or about February 28, 2020;

               h. a black, high capacity, Smith & Wesson magazine, seized on or about February
                  28, 2020;

                                                 4
Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 5 of 9




    i. a black, 2009 Audi A-8, bearing VIN WAUMV94E59N003017, seized on or
       about February 28, 2020;

    j. a Smith & Wesson, .40 caliber pistol, model SW40VE, bearing serial number
       FXH7412, seized on or about February 28, 2020;

    k. a Smith & Wesson, .38 caliber revolver, Model 60, bearing serial number
       R109724, seized on or about February 28, 2020;

    l. a Taurus, .45/410g revolver, model “Judge,” bearing serial number GZ877312,
       seized on or about February 28, 2020;

    m. a SigSauer, .40 caliber pistol, model P229, bearing serial number AK15302,
       seized on or about February 28, 2020;

    n. an H&R .22 Long Rifle revolver, model Sportsman Double Action, bearing
       serial number 63539, seized on or about February 28, 2020;

    o. a Glock, .40 caliber pistol, model 23, bearing serial number TCW487, seized
       on or about February 28, 2020;

    p. three (3) Colt .45 caliber rounds of ammunition, seized on or about February
       28, 2020;

    q. two (2) .410 caliber rounds of ammunition, seized on or about February 28,
       2020;

    r. fifteen (15) .357 caliber rounds of ammunition, seized on or about February 28,
       2020;

    s. thirty-two (32) .40 caliber rounds of ammunition, seized on or about February
       28, 2020;

    t. twenty-four (24) .38 caliber rounds of ammunition, seized on or about February
       28, 2020;

    u. eighteen (18) 9mm caliber rounds of ammunition, seized on or about February
       28, 2020;

    v. thirty-eight (38) .32 caliber rounds of ammunition, seized on or about February
       28, 2020;

    w. one (1) 7.65 caliber round of ammunition, seized on or about February 28, 2020;

    x. sixteen (16) .25 caliber rounds of ammunition, seized on or about February 28,
                                     5
         Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 6 of 9




                   2020;

               y. fifty-two (52) .22 caliber rounds of ammunition, seized on or about February
                  28, 2020;

               z. forty-two (42) 12-gauge shotgun shells, seized on or about February 28, 2020;

               aa. twenty (20) rounds of American Eagle .38 caliber ammunition, seized on or
                   about February 28, 2020;

               bb. thirty-nine (39) rounds of Remington .40 caliber ammunition, seized on or
                   about February 28, 2020;

               cc. one hundred (100) rounds of Remington 9mm ammunition, seized on or about
                   February 28, 2020; and

               dd. fifty (50) rounds of Remington .40 caliber ammunition, seized on or about
                   February 28, 2020.

        Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense; or they were used to facilitate
Defendant’s offense. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2,
and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

        Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.
                                                 6
         Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 7 of 9




        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.

         7.    Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

         8.    Breach of Plea Agreement

         Defendant understands that if he breaches any provision of this Agreement, violates any
condition of Defendant’s pre-trial release or commits any crime following Defendant’s execution
of this Plea Agreement, Defendant cannot rely upon such conduct to withdraw his guilty plea.
Defendant’s conduct, however, would give the U.S. Attorney the right to be released from his
commitments under this Agreement, to pursue any charges that were, or are to be, dismissed under
this Agreement, and to use against Defendant any of Defendant’s statements, and any information
or materials he provided to the government during investigation or prosecution of his case—even
if the parties had entered any earlier written or oral agreements or understandings about this issue.

        Defendant also understands that if he breaches any provision of this Agreement or engages
in any of the aforementioned conduct, he thereby waives any defenses based on the statute of
limitations, constitutional protections against pre-indictment delay, and the Speedy Trial Act, that
Defendant otherwise may have had to any charges based on conduct occurring before the date of
this Agreement.

         9.    Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.




                                                 7
        Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 8 of 9




         10.   Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

                                        *        *      *

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Timothy E. Moran.



                                                     Sincerely,

                                                     NATHANIEL R. MENDELL
                                                     Acting United States Attorney

                                            By:      s/ Glenn A. MacKinlay
                                                       GLENN A. MACKINLAY
                                                       Chief, Organized Crime and Gang Unit



                                                       TIMOTHY            Digitally signed by TIMOTHY
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                                                       MORAN              Date: 2021.05.25 10:30:19 -04'00'

                                                      TIMOTHY E. MORAN
                                                      KAITLIN R. O’DONNELL
                                                      Assistant U.S. Attorneys




                                               8
Case 1:20-cr-10136-RGS Document 366 Filed 06/14/21 Page 9 of 9
